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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 Southern                              District of    New York

                                                      (State)

                                                                                                          ☐ Check if this is an
 Case number (If known):                                            Chapter        11                         amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                   04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the
debtor’s name and the case number (if known). For more information, a separate document, Instructions for
Bankruptcy Forms for Non-Individuals, is available.

1.     Debtor’s name                                 IMNY AC, LLC

2.     All other names debtor used in                Il Mulino New York
       the last 8 years
                                                     Trattoria Il Mulino
       Include any assumed names, trade
       names, and doing business as
       names




3.     Debtor’s federal Employer                     2          6       -          0           3   2          5           0          8          2
       Identification Number (EIN)
                                                     Principal place of business                   Mailing address, if different from principal place
4.     Debtor’s address                                                                            of business

                                                     1000 Boardwalk                                1761 Yardley Langhorne Road
                                                     Number            Street                      Number            Street


                                                                                                   P.O. Box

                                                     Atlantic City        NJ        08401          Yardley            PA           19067
                                                     City               State       ZIP Code       City               State        ZIP Code

                                                                                                   Location of principal assets, if different from
                                                                                                   principal place of business


                                                     Atlantic
                                                     County                                        Number            Street




                                                                                                   City               State        ZIP Code

5.     Debtor’s website (URL)                        https://www.ilmulino.com/




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      Debtor      IMNY AC, LLC                                           Case number (if known)
                  Name
6.    Type of debtor                                 ☒      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership
                                                            (LLP))
                                                     ☐      Partnership (excluding LLP)
                                                     ☐      Other. Specify:

7.    Describe debtor’s business                     A. Check one:
                                                     ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                     ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                     ☐ Railroad (as defined in 11 U.S.C. § 101(44))
                                                     ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                     ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                     ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                     ☒ None of the above

                                                     B. Check all that apply:
                                                     ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15
                                                     ☐      U.S.C. § 80a-3)
                                                     ☐      Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                     C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                     http://www.uscourts.gov/four-digit-national-association-naics-codes
                                                     7        2          2          5
8.    Under which chapter of the                     Check one:
      Bankruptcy Code is the debtor                  ☐ Chapter 7
                                                     ☐ Chapter 9
      filing?
                                                     ☒ Chapter 11. Check all that apply:
      A debtor who is a “small business debtor”                        ☐ The debtor is a small business debtor as defined in 11 U.S.C. §
      must check the first subbox. A debtor as                                 101(51D), and its aggregate noncontingent liquidated debts
      defined in § 1182(1) who elects to proceed                               (excluding debts owed to insiders or affiliates) are less than
      under subchapter V of chapter 11 (whether or                             $2,725,625. If this sub-box is selected, attach the most recent
      not the debtor is a “small business debtor”)                             balance sheet, statement of operations, cash-flow statement, and
      must check the second sub-box.                                           federal income tax return or if any of these documents do not exist,
                                                                               follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                                              ☐     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its
                                                                                    aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                    insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                                    proceed under Subchapter V of Chapter 11. If this sub-box is
                                                                                    selected, attach the most recent balance sheet, statement of
                                                                                    operations, cash-flow statement, and federal income tax return, or
                                                                                    if any of these documents do not exist, follow the procedure in 11
                                                                                    U.S.C. § 1116(1)(B).
                                                                              ☐     A plan is being filed with this petition.
                                                                              ☐     Acceptances of the plan were solicited prepetition from one or
                                                                                    more classes of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                              ☐     The debtor is required to file periodic reports (for example, 10K and
                                                                                    10Q) with the Securities and Exchange Commission according to §
                                                                                    13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                                    Attachment to Voluntary Petition for Non-Individuals Filing for
                                                                                    Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                              ☐     The debtor is a shell company as defined in the Securities
                                                                                    Exchange Act of 1934 Rule 12b-2.
                                                     ☐ Chapter 12




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      Debtor      IMNY AC, LLC                                  Case number (if known)
                   Name
9.    Were prior bankruptcy cases filed by or         ☒ No
      against the debtor within the last 8 years?     ☐ Yes       District                        When                  Case number
      If more than 2 cases, attach a separate list.                                                        MM/DD/YYYY

                                                                  District                        When                  Case number
                                                                                                           MM/DD/YYYY


10.   Are any bankruptcy cases
      pending or being filed by a                     ☐ No
      business partner or an affiliate of
                                                      ☒ Yes       Debtor       See attached Schedule 1          Relationship       Affiliate
      the debtor?
      List all cases. If more than 1, attach
      a separate list.                                            District     Southern District of New York    When               07/28/2020
                                                                                                                                    MM/DD/YYYY
                                                                  Case number, if
                                                                  known

11.   Why is the case filed in this                   Check all that apply:
      district?
                                                      ☐        Debtor has had its domicile, principal place of business, or principal assets in this
                                                               district for 180 days immediately preceding the date of this petition or for a longer part
                                                               of such 180 days than in any other district.
                                                      ☒        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is
                                                               pending in this district.

12.   Does the debtor own or have                     ☒ No
      possession of any real property                 ☐ Yes. Answer below for each property that needs immediate attention. Attach additional
      or personal property that needs                   sheets if needed.
      immediate attention?
                                                              Why does the property need immediate attention? (Check all that apply.)

                                                              ☐           It poses or is alleged to pose a threat of imminent and identifiable hazard to
                                                                          public health or safety.

                                                                          What is the hazard?
                                                              ☐           It needs to be physically secured or protected from the weather.

                                                              ☐           It includes perishable goods or assets that could quickly deteriorate or lose
                                                                          value without attention (for example, livestock, seasonal goods, meat, dairy,
                                                                          produce, or securities-related assets or other options).
                                                              ☐           Other
                                                      Where is the property?
                                                                                      Number         Street



                                                                                      City                                       State         ZIP Code
                                                      Is the property insured?
                                                      ☐ No
                                                      ☐ Yes. Insurance agency
                                                               Contact name
                                                               Phone

      Statistical and administrative information




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      Debtor    IMNY AC, LLC                                     Case number (if known)
                Name
13.   Debtor’s estimation of available               Check one:
      funds                                          ☒ Funds will be available for distribution to unsecured creditors.
                                                     ☐ After any administrative expenses are paid, no funds will be available for distribution to
                                                       unsecured creditors.


14.   Estimated number of creditors                  ☒         1-49                      ☐       1,000-5,000                  ☐       25,001-50,000

                                                     ☐         50-99                     ☐       5,001-10,000                 ☐       50,001-100,000


                                                     ☐         100-199                   ☐       10,001-25,000                ☐       More than 100,000


                                                     ☐         200-999


15.   Estimated assets                               ☐      $0-$50,000                 ☐      $1,000,001-$10 million        ☐     $500,000,001-$1 billion


                                                     ☐      $50,001-$100,000           ☐      $10,000,001-$50 million       ☐     $1,000,000,001-$10 billion


                                                     ☐      $100,001-$500,000          ☒      $50,000,001-$100 million      ☐     $10,000,000,001-$50 billion


                                                     ☐      $500,001-$1 million        ☐      $100,000,001-$500 million     ☐     More than $50 billion



16.   Estimated liabilities
                                                     ☐      $0-$50,000                 ☐      $1,000,001-$10 million        ☐     $500,000,001-$1 billion



                                                     ☐      $50,001-$100,000           ☒      $10,000,001-$50 million       ☐     $1,000,000,001-$10 billion



                                                     ☐      $100,001-$500,000          ☐      $50,000,001-$100 million      ☐     $10,000,000,001-$50 billion



                                                     ☐      $500,001-$1 million        ☐      $100,000,001-$500 million     ☐     More than $50 billion



      Request for Relief, Declaration, and Signatures

 WARNING --     Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17.   Declaration and signature of               The debtor requests relief in accordance with the chapter of title 11, United States Code, specified
                                                 in this petition.
      authorized representative of
      debtor                                     I have been authorized to file this petition on behalf of the debtor.
                                                 I have examined the information in this petition and have a reasonable belief that the information is
                                                 true and correct.

                                                 I declare under penalty of perjury that the foregoing is true and correct.

                                                 Executed on           07/28/2020
                                                                       MM/DD/YYYY


                                                 X     Gerald Katzoff                                        Gerald Katzoff
                                                       Signature of authorized representative of debtor      Printed name

                                                       Title      Manager




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      Debtor    IMNY AC, LLC                            Case number (if known)
                Name

18.   Signature of attorney               X    /s. Gerard S. Catalanello                               07/28/2020
                                                                                              Date
                                               Signature of attorney for debtor                        MM/DD/YYYY


                                               Gerard S. Catalanello
                                               Printed name

                                               Alston & Bird LLP
                                               Firm name

                                               90 Park Avenue
                                               Number                       Street


                                               New York                                              New York        10016
                                               City                                                  State           ZIP Code

                                               212-210-9400                          gerard.catalanello@alston.com
                                               Contact phone                         Email address


                                               2531135                                                  New York
                                               Bar number                                               State




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                                             Schedule 1

            Pending Bankruptcy Cases filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below, including the Debtor filing this petition
(collectively, the “Debtors”), filed a voluntary petitions for relief under chapter 11 of title 11 of
the United States Code in the United States Bankruptcy Court for the Southern District of New
York, contemporaneously with the filing of this petition. A motion will be filed with the Court
requesting that the chapter 11 cases of the entities listed below be consolidated for procedural
purposes only and jointly administered, pursuant to Rule 1015(b) of the Federal Rules of
Bankruptcy Procedure, under the case number assigned to the chapter 11 case K.G. IM, LLC.


                      Debtor                                              Tax ID
 K.G. IM, LLC                                         XX-XXXXXXX

 IL Mulino USA, LLC                                   XX-XXXXXXX

 IM LLC – III                                         XX-XXXXXXX

 IMNYLV, LLC                                          XX-XXXXXXX

 IM NY, Florida, LLC                                  XX-XXXXXXX

 IM NY, Puerto Rico, LLC                              XX-XXXXXXX

 IMNY AC, LLC                                         XX-XXXXXXX

 IM Products, LLC                                     XX-XXXXXXX

 IM Long Island Restaurant Group, LLC                 XX-XXXXXXX

 IM Long Island, LLC                                  XX-XXXXXXX

 IM Franchise, LLC                                    XX-XXXXXXX

 IM 60th Street Holdings, LLC                         XX-XXXXXXX

 IM Broadway, LLC                                     XX-XXXXXXX

 IMNY Hamptons, LLC                                   XX-XXXXXXX
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 Fill in this information to identify the case and this filing:


             IMNY AC, LLC
 Debtor Name __________________________________________________________________
                                         Southern
 United States Bankruptcy Court for the: ______________________             New York
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                            List of Equity Holders and Corporate Ownership Statement
         
         ✔    Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.
                       07/28/2020                               /s/ Gerald Katzoff
        Executed on ______________                            _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                                Gerald Katzoff
                                                                ________________________________________________________________________
                                                                Printed name
                                                                Manager
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
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      Fill in this information to identify the case:

      Debtor name IMNY AC, LLC

      United States Bankruptcy Court for the: Southern District of New York
                                                                  (State)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing
      Case number (If known):




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                                 12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number, and       Nature of the         Indicate if     Amount of unsecured claim
     mailing address, including zip code         email address of creditor         claim (for example,   claim is        If the claim is fully unsecured, fill in only unsecured
                                                 contact                           trade debts, bank     contingent,     claim amount. If claim is partially secured, fill in total
                                                                                   loans, professional   unliquidated,   claim amount and deduction for value of collateral
                                                                                   services, and         or disputed     or setoff to calculate unsecured claim.
                                                                                   government
                                                                                   contracts)
                                                                                                                         Total claim, if        Deduction       Unsecured claim
                                                                                                                         partially              for value of
                                                                                                                         secured                collateral
                                                                                                                                                or setoff
1    Firstrust Bank                                                                Loan                     CUD                                                $1,769,631.22
     Eric Paul Senior VP
     15 E. Ridge Pike
     Conshohocken PA 19428

2    Signature Bank                                                                PPP Loan                  CD                                                $502,059.00
     565 Fifth Avenue
     New York, NY 10017




3    NJ Partnership Tax                                                            Trade                    CUD                                                $133,304.15
     PO Box 999
     Trenton, NJ 08646


4    Primal Customer                                                               Trade                    CUD                                                $87,775.36
     Cutting LLC
     603 Washington Ave,
     South Amboy, NJ 08879



5    State of New Jersey Div of                                                    Trade                    CUD                                                $52,359.62
     Employment
     PO Box 389
     Trenton, NJ 08625-0389
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     Debtor      IMNY AC, LLC                                             Case number (if known)_______________________
                   Name




     Name of creditor and complete         Name, telephone number, and         Nature of the            Indicate if        Amount of unsecured claim
     mailing address, including zip code   email address of creditor contact   claim (for example,      claim is           If the claim is fully unsecured, fill in only
                                                                               trade debts, bank        contingent,        unsecured claim amount. If claim is partially
                                                                               loans, professional      unliquidated,      secured, fill in total claim amount and deduction
                                                                               services, and            or disputed        for value of collateral or setoff to calculate
                                                                               government                                  unsecured claim.
                                                                               contracts)                                 Total claim, if    Deduction for     Unsecured
                                                                                                                          partially          value of          claim
                                                                                                                          secured            collateral or
                                                                                                                                             setoff
6    Trinity Seafood                                                           Trade                        CUD                                               $40,220.50
     1001 New Hampshire Ave e,
     Lakewood Township, NJ 08701

7    Paris Produce Company, Inc                                                Trade                        CUD                                               $30,403.32
     124 Old Turnpike,
     Pleasantville, NJ 08232.


8    Federal Wine & Liquor Co                                                  Trade                        CUD                                               $24,477.01
     29 State St,
     Boston, MA 02109

9    Hygiene Coast Services                                                    Trade                        CUD                                               $16,870.93




10   Musco Food Corporation                                                    Trade                        CUD                                               $11,792.42
     5701 49th Pl,
     Maspeth, NY 11378



11   Capital Floors LLC                                                        Trade                        CUD                                               $11,788.28
     58 Whitten St
     Dorchester, MA 02122-2277


12   Sysco Philadelphia LLC                                                    Trade                        CUD                                               $10,804.55
     600 Packer Ave,
     Philadelphia, PA 19148



13   NJ Division of Taxation                                                   Tax claim                    CUD                                               $9,350.38
     50 Barrack St,
     Trenton, NJ 08608
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     Debtor      IMNY AC, LLC                                             Case number (if known)   ______________________
                     Name

     Name of creditor and complete mailing     Name, telephone number,   Nature of the             Indicate if        Amount of unsecured claim
     address, including zip code               and email address of      claim (for example,       claim is           If the claim is fully unsecured, fill in only
                                               creditor contact          trade debts, bank         contingent,        unsecured claim amount. If claim is partially
                                                                         loans, professional       unliquidated,      secured, fill in total claim amount and deduction
                                                                         services, and             or disputed        for value of collateral or setoff to calculate
                                                                         government                                   unsecured claim.
                                                                         contracts)                                  Total claim, if    Deduction for       Unsecured
                                                                                                                     partially          value of            claim
                                                                                                                     secured            collateral or
                                                                                                                                        setoff
14   Safavieh                                                            Trade                          CUD                                               $7,752.00




15   Teitel Bros. Wholesale Grocery                                      Trade                          CUD                                               $6,965.71
     2372 Arthur Ave,
      Bronx, NY 10458


16   Mary Ellen Maryland Crab Meat Co                                    Trade                          CUD                                               $5,699.96
     2613 Fire Rd
     Egg Harbor Township, NJ 08234


17   A. Esposito, Inc.                                                   Trade                          CUD                                               $5,484.28
     Search Results
     1001 S 9th St,
     Philadelphia, PA 19147

18   Allied Beverage Group LLC                                           Trade                          CUD                                               $5,474.28
     700 Kapkowski Road
     Elizabeth, NJ 07201


19   La Mozzare LLC                                                      Trade                          CUD                                               $3,719.33
     5408 Hilltop Ct
     Fort Lee, NJ, 07024-2210

20   Open Table, Inc.                                                    Trade                          CUD                                               $1,979.29
     1 Montgomery St Ste 700,
      San Francisco CA 94104
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                            )   CHAPTER 11
                                                  )
IMNY AC, LLC                                      )
                                                  )   CASE NO. 20-
                  Debtor.                         )
                                                  )
                                                  )

                            LIST OF EQUITY SECURITY HOLDERS

         Debtor                 Equity Holders         Address of            Percentage of
                                                    Equity Holder            Equity Holder
IMNY AC, LLC                  IL Mulino USA, LLC 136 East 57th Street            100%
                                                 13th Floor
                                                 New York, NY
                                                 10022
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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:                                                 )   CHAPTER 11
                                                        )
 IMNY AC, LLC                                           )
                                                        )   CASE NO. 20-
                    Debtor.                             )
                                                        )
                                                        )

                           CORPORATE OWNERSHIP STATEMENT

          Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the

following are corporations, other than a governmental unit, that directly or indirectly own 10% of

more any class of the debtor’s equity interest:

                 Shareholder                          Approximate Percentage of Shares Held
  IL Mulino USA, LLC                                                 100%
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                 WRITTEN CONSENT ACTION OF THE MANAGER OF
                               IMNY AC, LLC

                                           July 28, 2020

        The undersigned, constituting the sole manager (the “Manager”) of IMNY AC, LLC, a
Delaware limited liability company (the “Company”), by affixing its signature hereto, consents to
and takes the following actions and adopts the following resolutions without the necessity of a
formal or informal meeting, hereby waives all notice of the date, time, place, and purpose of such
meeting and hereby directs that this action of the Manager taken by written consent (“Unanimous
Written Consent”) be filed with the minutes of the proceedings of the Manager in the minute book
of the Company, this Unanimous Written Consent to have the same force and effect as if the actions
had been taken by a vote at a timely called special meeting of the members and the Manager
pursuant to the Delaware Limited Liability Company Act and the Operating Agreement of the
Company:

                                     Bankruptcy Resolutions

        WHEREAS, the Company, with the assistance of its financial and legal advisors, has been
conducting a review to consider and evaluate various strategic and financial alternatives, including
but not limited to, a filing of a petition by the Company to be effectuated under the provisions of
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), and other restructuring
transactions or transactions otherwise designed to address the Company’s liquidity constraints that
may be available to the Company and its direct and indirect subsidiaries (each such strategic
alternative, a “Transaction”); and

        WHEREAS, the Manager has met on numerous occasions to review and has had the
opportunity to ask questions and receive answers about and to discuss the materials presented by
the Company’s legal, financial and other advisors regarding the liabilities and liquidity of the
Company, the various potential Transactions and the impact of the foregoing on the Company, its
creditors, members, other interested parties, and its business; and

        WHEREAS, in the judgment of the Manager, it is desirable and in the best interests of the
Company, its creditors, members, and other interested parties, for the Company to file a voluntary
petition for relief under chapter 11 of the Bankruptcy Code.

         NOW, THEREFORE, BE IT RESOLVED, that the Company is hereby authorized to
file or cause to be filed the voluntary petition for relief (such voluntary petition, the “Chapter 11
Case”) under the provisions of chapter 11 of the Bankruptcy Code in the Bankruptcy Court for the
Southern District of New York (the “Bankruptcy Court”); and it is

        FURTHER RESOLVED, that the Manager (an “Authorized Party”) is hereby authorized,
directed, and empowered, on behalf of and in the name of the Company, to engage and continue to
retain the law firm of Alston & Bird LLP, as counsel, as restructuring and bankruptcy counsel to
the Company to represent and assist the Company in carrying out its duties under the Bankruptcy
Code, and to take any and all actions to advance the Company’s rights, including the preparation of
pleadings and filings in the Chapter 11 proceeding, and in connection therewith, the Authorized


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Party is hereby authorized and directed to execute appropriate retention agreements, pay appropriate
retainers, fees, and expenses, prior to and following the filing of the Chapter 11 Case, and to cause
to be filed appropriate applications for authority to retain and pay for the services of Alston & Bird
LLP and; and it is

         FURTHER RESOLVED, that the Authorized Party is hereby authorized and directed to
employ accountants, financial advisors, and any other individual and/or firm as professionals or
consultants to the Company as are necessary to represent and assist the Company in carrying out
its duties under the Bankruptcy Code, including (a) Traxi LLC, (b) Davis & Gilbert LLP, as special
corporate counsel to the Company, and (c) such additional professionals, including attorneys,
accountants, financial advisors, consultants, or brokers as may be necessary or desirable in
connection with the Chapter 11 Case, and in connection therewith, the Authorized Party is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers, fees,
and expenses, prior to and following the filing of the Chapter 11 Case, and to cause to be filed
appropriate applications for authority to retain and pay for the services of such individuals and/or
firms.

                                        General Resolutions

        NOW, THEREFORE, BE IT RESOLVED, that the Authorized Party is hereby authorized
and empowered in the name of and on behalf of the Company to perform any and all acts as may be
necessary or desirable to carry out the purposes of these resolutions and to complete the transactions
contemplated in the agreements and instruments referred to in the foregoing resolutions, and to
execute, file, and deliver all instruments and other documents as the Authorized Party may deem
necessary or desirable to carry out the purposes and intent of the agreements and instruments referred
to in the foregoing resolutions; and the execution by the Authorized Party of any such act in
connection with the foregoing matters shall conclusively establish such Authorized Party’s authority
therefor from the Company and the approval, ratification, and adoption by the Company of the
documents so executed and the actions so taken; and it is

         FURTHER RESOLVED, that the Authorized Party is hereby authorized and empowered
in the name of and on behalf of the Company to perform any and all acts as may be necessary or
desirable to undertake, execute, file, implement, and/or deliver the Chapter 11 Case, and all other
instruments and documents contemplated by the foregoing resolutions and to take any and all further
action which such Authorized Party may deem necessary or desirable to effectuate any action
authorized by these resolutions, and otherwise to carry out the purposes and intent of the foregoing
resolutions, and the execution by such Authorized Party of any such documents or the performance
by such Authorized Party of any such act in connection with the foregoing matters shall
conclusively establish his or her authority therefore from the Company and the approval and
ratification by the Company of the documents so executed and the actions so taken; and it is

        FURTHER RESOLVED, that the Authorized Party is hereby authorized for and on behalf
of the Company to take any and all actions necessary, including the execution of any amendments,
documents, instruments or waivers or to obtain any waivers or amendments of any agreements of
the Company required by or under the Chapter 11 Case, or any of the transactions contemplated
thereby, and any such action shall be binding on the Company without further authorization; and
it is
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        FURTHER RESOLVED, that all actions and agreements of the members, Manager and
officers of the Company prior to the date hereof consistent with the purposes and intent of the
foregoing resolutions be, and they hereby are, approved, ratified and adopted in all respects as the
acts and agreements of the Company.




                                [SIGNATURE PAGE FOLLOWS]
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                                )   CHAPTER 11
                                                       )
 IMNY AC, LLC                                          )
                                                       )   CASE NO. 20-
                     Debtor.                           )
                                                       )
                                                       )

                          VERIFICATION OF CREDITOR MATRIX

The above-named debtor verifies that the attached matrix listing creditors is true to the best of my
knowledge.

Date: July 28, 2020                   Signature      /s/ Gerald Katzoff
                                                     Gerald Katzoff
                                                     Manager




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A. Esposito, Inc.
Search Results
1001 S 9th St,
Philadelphia, PA 19147


Allied Beverage Group LLC
700 Kapkowski Road
Elizabeth, NJ 07201


BSP Agency, LLC
9 West 57th Street, Suite 4700
New York, NY 10019


Capital Floors LLC
58 Whitten St
Dorchester, MA 02122-2277


Elmer Schultz Services Inc.
540 N Third St.
Philadelphia, PA 19123


Federal Wine & Liquor Co
29 State St,
Boston, MA 02109


Eric Paul Senior VP
Firstrust Bank
15 E. Ridge Pike
Conshohocken PA 19428


Hygiene Coast Services


Il Mulino USA, LLC
1761 Yardley Langhorne Road
Yardley, PA 19067




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La Mozzare LLC
5408 Hilltop Ct
Fort Lee, NJ, 07024


Mary Ellen Maryland Crab Meat Co
2613 Fire Rd
Egg Harbor Township, NJ 08234


Musco Food Corporation
5701 49th Pl,
Maspeth, NY 11378


NJ Division of Taxation
50 Barrack St,
Trenton, NJ 08608


NJ Partnership Tax
PO Box 999
Trenton, NJ 08646-0999


Open Table, Inc.
1 Montgomery St Ste 700,
San Francisco CA 94104


Paris Produce Company, Inc
124 Old Turnpike,
Pleasantville, NJ 08232


Primal Customer
Cutting LLC
603 Washington Ave,
South Amboy, NJ 08879


Safavieh




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Signature Bank
565 Fifth Avenue
New York, NY 10017


State of New Jersey Div of Employment
PO Box 389
Trenton, NJ 08625-0389


Sysco Philadelphia LLC
600 Packer Ave,
Philadelphia, PA 19148


Teitel Bros. Wholesale Grocery
2372 Arthur Ave,
 Bronx, NY 10458


Trinity Seafood
1001 New Hampshire Ave e,
Lakewood Township, NJ 08701




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